CaSe:lS-lOQGB-TB|\/| DOC#237 Filed:OS/O?/J_S Entered:OS/O7/1811219247 Pagel Oi2

Fii| in this information to identify the CaSC->:

Debior name 11380 S|'liilTH RD LLC

Uniied Siates Bankrupicy Court for the: DISTRICT OF COLORADO

 

Case number (il known} 18-10965 TBM
l Chack ii this is an
amended nling

 

 

Ofi'lcia| Form 206E!F

Scheduie EIF: Creditors Who Have Unsecured Claims 1215

Be aa complete and accurate as poseihte. i.lse Part 1 for creditors with PR|ORiTY unsecured claims and Part 2 for creditors lillith NONPR|OR|TY unsecured claims.
Liat the other party to any executory contracts or unexpired leases that could result in a claim. A!so list executory contracts nn $cneduie A/B: Asseis - Reai and
personal property {Oinclal Fon'n ZUSNB] and on Sclieduie G: Execr.rioqr Contracls and Unaxpirad i.aases {Orficlal Forrn 2066). Numtier the entries in Parls 1 and
2 in the boxes on the lefi. li more space is needed for Part1 or Fert 2, iii| out and attach the Addiiional Page oi' that Pert included in this iorm.

Llel Ali creditors with Pnionm' unsecured claims

 

‘l. Do any creditors have priority unsecured claims? (See 11 U.S,C. § 50?}.

l No. Go co Pari 2.
El Yes. Gc id line 2

lm List A|| Croditors with NONPRiDR|TY Unsecured Clairns
3. Llst in alphabetical order all of the creditors with nonpriority unsecured ciairna. little debtor has more than 6 creditors with nonpn`ority unsecured ciain'is. fill

out and attach the Addiiional Page of Pari 2.

An'iou nt of claim

 

 

1:| Nonpriorlty creditors name and mailing address ne ctthe petition liling date, the claim le: checxsillneiecply. $1,200,000.00
Henzel, Tim i:l contingent
1510 Jade Road El unliquidated
Colurnbia. l\ilO 65201 g mspumd
odom debt was incurred - Basls for the claim: Loari
Laet 4 digits ot account number_ _
is ind claim adviser id arisen l lid l'_'i Yds
IE Nonpilorny creditors name and malilng address ne of tire petition filing dsie, the claim le: cmcxerinai apply. Urrknown
Owners insurance Con'ipany l comingth
Di\rision of insurance - u n mm
1550 erdedway “ °'"
named co 80202 l disputed
oaie¢s) debt was inclined 2§17 assts rcr the claim: Attomey's fees and expenses
Last 4 digits of account number _ ls me claim subject w offset-3 l m ['_“'| rives
[E Ndnprloriiy credence name end mailing address as urine pdiludn ming dale. die claim le: welcome $32,000.00
Xcel Energy Cl Conilngcnl
P.O. Box 9477 Ei unliquidaied
Minneapo|is, iii|i~i 55484-9477 |:| D;spuled

Datie{e] debt was incurred October 201 7
Laat 4 digits of account number 6413

Baele forma claim: Uti|ig services
la me claim subjecito clisei? l Nc l:l ‘res

 

usi omers cd se derived Avdut unsecured claims

4. List in alphabetical order any others who must he notified for claims listed ln Parts 1 and 2. Exampies ct entities that may be listed are collection agencies,

assignees ot claims listed above. and atl.omeye for unsecured crediiols.

li' no others need to be nodlied for the debts listed in Parts 1 and 2, do not iiii out or submit this page. lt additional pages ana needed, copy the next pege.

blame and mailing address On which line ln Part1 or Part 2 is tile Last 4 digits of
related creditor (Il' any) ilated? account number, lt
any
Ol‘iicia| Forrn ZGBEFF Scheduie ElF; Creditora Who Have Unsacurod Clelrns page 1 oi 2
Soiiirara Copyrighi (c) 1995»201? Besi Case, LLC - m.basicsee.com 5158$ Boat Cese Bankrupicy

CaSe:lS-lOQGB-TB|\/| DOC#237 Filed:OS/O?/J_S Entered:OS/O7/1811219247 PageZ Oi2

DSbel' 11380 SM|TH RD LLC Ca$€' number (Hkrwn) 18-10965 TBM

 

lime

blame and mailing address On which line In Part‘i or Fert 2 is the Last 4 digits of
related creditor {ii any) lleted? account number, it
any
4-1 Gregory Giometiti, Esq.
cic erc-gary R. cicrndiu a Acccc. ucc B _
50 South Stee|e, #480 n _
Nci listed Explain ___

Den\rer, CO 80209

 

 

rch Amcunis or the Prlcriiy and iich unsecured claims

6. Add the amounts of priority and nonpriorlty unsecured cia|n'is.
- ' `i’otal of_.claim,amounia :_ ,'_"'.-.'."_ _-:'
53- 3 0.00

5a. Total claims from Part 1
5b- * 5 1,232,000.00

5h. Total claims from Fart2

 

5°` Tu°rt.:;'§'::§§§ §ch2 s¢. s 1,232,000.00

 

 

 

Ofilclai Forrn 208 ElF Schedule EiF: Craditors Who Have Unsecured Ctalms Page 2 of 2
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